
696 S.E.2d 698 (2010)
STATE of North Carolina
v.
Russell Edward SMITH.
No. 85P10.
Supreme Court of North Carolina.
April 14, 2010.
Duncan B. McCormick, for Russell Smith.
David Kirkman, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed on the 23rd of February 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th of April 2010."
